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10
                                   UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
     SHERRILL FARRELL, JAMES                         Case No.: 3:23-CV-04013-JCS
13   GONZALES, JULIANNE “JULES” SOHN,
     STEPHAN “LILLY” STEFFANIDES,                    CIVIL RIGHTS ACTION
14   individually and on behalf of all others
     similarly situated,                             CLASS ACTION
15
              Plaintiffs,                            PLAINTIFFS’ NOTICE OF MOTION AND
16                          v.                       MOTION FOR CLASS CERTIFICATION,
                                                     FINAL APPROVAL OF CLASS ACTION
17   UNITED STATES DEPARTMENT OF                     SETTLEMENT, AND AWARD OF
     DEFENSE; LLOYD J. AUSTIN III,                   REASONABLE ATTORNEYS’ FEES AND
18   Secretary, United States Department of          COSTS, AND MEMORANDUM OF POINTS
     Defense, in his official capacity;              AND AUTHORITIES IN SUPPORT
19   CHRISTINE WORMUTH, Secretary, United
     States Army, in her official capacity;
20   CARLOS DEL TORO, Secretary, United              Judge:         Hon. Joseph Spero
     States Navy, in his official capacity; FRANK    Date:          March 12, 2025
21   KENDALL, Secretary, United States Air           Time:          9:30 a.m.
     Force, in his official capacity,                Location:      Courtroom D, 15th Floor
22
             Defendants.
23

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 1                                NOTICE OF MOTION AND MOTION
 2          PLEASE TAKE NOTICE that Plaintiffs, on behalf of the conditionally certified class,
 3   hereby move pursuant to Federal Rules of Civil Procedure 23 and 54 for an order certifying the class
 4   for settlement purposes, granting final approval of the class action settlement, and awarding
 5   reasonable attorneys’ fees and costs.
 6          Plaintiffs’ motion is based on this Notice of Motion and Motion, the Memorandum of Points
 7   and Authorities set forth below, the concurrently-filed Declaration of Lori Rifkin and the proposed
 8   settlement agreement attached as Exhibit 1 thereto, the concurrently-filed Declaration of Elizabeth
 9   Kristen and Joint Stipulation to Substitute the California Women’s Law Center for Legal Aid at
10   Work, the previously-filed Declarations of class counsel Lori Rifkin (ECF No. 82-1), Elizabeth
11   Kristen (ECF No. 82-2), Radha Sathe Manthe (ECF No. 82-3), and Chelsea Corey (ECF No. 82-4),
12   and class representatives Sherrill Farrell (ECF No. 82-8), James Gonzales (ECF No. 82-6), Jules
13   Sohn (ECF No. 82-7), and Lilly Steffanides (ECF No. 82-5), in Support of Plaintiffs’ Motion for
14   Preliminary Approval, the pleadings and records on file in this action, and argument presented at any
15   hearing of this motion.
16
     Dated: February 12, 2025                     Respectfully Submitted,
17

18                                                CALIFORNIA WOMEN’S LAW CENTER
                                                  IMPACT FUND
19                                                KING & SPALDING LLP
                                                  HAYNES AND BOONE, LLP
20

21
                                                  By:__________________________
22                                                      Fawn Rajbhandari-Korr
                                                        Attorneys for Plaintiffs
23

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     PLS’ MOT FOR CLASS CERTIFICATION, FINAL APPROVAL OF SETTLEMENT,
     AWARD OF ATTYS’ FEES & COSTS, & MPA IN SUPPORT
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     CASE NO. 3:23-CV-04013-JCS                   v
 1                         MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION

 3          Plaintiffs request final approval of a settlement that will provide critical injunctive relief to

 4   veterans discharged under Don’t Ask, Don’t Tell (“DADT”), 10 U.S.C. § 654 (2006) (repealed

 5   2010), and predecessor policies, whose discharge paperwork (Form “DD-214”) contains indicators

 6   of sexual orientation. The terms of the settlement are fully set forth in the settlement agreement,

 7   attached as Exhibit 1 to the Declaration of Lori Rifkin in Support of Plaintiffs’ Motion for Final

 8   Approval of Class Action Settlement (“Rifkin Decl.”), filed herewith (“SA”). 1

 9          The settlement will provide veterans discharged under DADT and similar prior policies with

10   access to streamlined review procedures for requesting changes to their DD-214s. These procedures

11   will provide a faster, easier, and more effective avenue for veterans to request removal of all

12   indicators of sexual orientation from their DD-214s than those currently in place. For most veterans

13   given discharge characterizations below Honorable, the settlement will also provide an expedited

14   discharge upgrade review. Participating veterans will not have to individually obtain their military

15   records, gather evidence, or submit individual petitions to the Board. The streamlined review

16   procedures will be available to class members for at least three years.

17          On January 8, 2025, the Court conditionally certified the settlement class and granted

18   preliminary approval of the settlement. ECF No. 85. The Court found that it will likely be able to

19   approve the proposed settlement as fair, reasonable, and adequate under Federal Rule of Civil

20   Procedure 23(e)(2). Id. There have been no changes since preliminary approval that would undercut

21   certification of the class and final approval of the settlement, including the requested attorneys’ fees

22   and costs, as fair, reasonable, and adequate. The parties have implemented the class notice plan

23   approved by the Court. Rifkin Decl. ¶¶ 13-15. Class counsel have received substantial positive

24   feedback about the settlement, and, to date, no class members have submitted objections. 2 Id. ¶ 16.

25   Accordingly, Plaintiffs now move for certification of the settlement class and final approval of the

26   1
       Plaintiffs previously filed the settlement agreement with Plaintiffs’ Motion for Preliminary
27   Approval, ECF No. 82-1 at 14 (Exhibit 1), and file it again with the instant motion for the Court’s
     convenience in reviewing.
28   2
       The deadline for objections is February 19, 2025. ECF No. 85 at 3.

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 1   settlement, including an award of $350,000 in reasonable attorneys’ fees and costs. This motion is
 2   unopposed. Rifkin Decl. ¶ 5.
 3   II.    FACTUAL AND PROCEDURAL BACKGROUND
 4          Plaintiffs included a detailed factual and procedural history of the litigation, summary of the
 5   settlement negotiations, and a description of the settlement terms in the recently filed motion for
 6   preliminary approval. ECF. No 82 at 10-12. In summary, Plaintiffs brought this class action on
 7   behalf of themselves and tens of thousands of veterans discharged under DADT and similar prior
 8   policies that prohibited individuals from serving in the U.S. armed forces based on actual or
 9   perceived sexual orientation. ECF No. 43 ¶¶ 6, 34. Plaintiffs sought declaratory and injunctive
10   relief to remedy ongoing constitutional violations caused by these discriminatory discharges, namely
11   the continuing identification of sexual orientation on affected veterans’ discharge papers. Id. ¶¶ 122-
12   23.
13          Defendants moved to dismiss the entirety of Plaintiffs’ case, challenging timeliness, standing
14   and exhaustion of remedies, and the sufficiency of Plaintiffs’ allegations. ECF No. 50. After the
15   Court denied Defendants’ motion to dismiss, the parties engaged in six months of contentious arm’s
16   length settlement negotiations, including bi-weekly meet and confer calls via videoconference and
17   an in-person settlement meeting in Washington D.C. ECF No. 82-1 ¶¶ 16-22.
18          Plaintiffs’ counsel—who have decades of experience litigating civil rights actions and class
19   actions—assessed the settlement based on their thorough investigation of this case, consultations
20   with the named Plaintiffs, information gathered from other advocates for LGBTQ+ veterans, their
21   own prior litigation experience, and additional information obtained through the course of settlement
22   discussions. ECF No. 82-1 ¶ 32; ECF No. 82-2 ¶ 15; ECF No. 82-3 ¶ 17; ECF No. 82-4 ¶ 14.
23   Plaintiffs’ counsel weighed the strengths and weaknesses of the legal issues, the relief they were able
24   to obtain through settlement versus the relief possible through litigation, and the benefits and risks of
25   proceeding with further litigation. ECF No. 82-1 ¶ 33; ECF No. 82-2 ¶ 15; ECF No. 82-3 ¶ 17; ECF
26   No. 82-4 ¶ 14. If approved, the settlement would provide meaningful and timely relief to tens of
27   thousands of veterans experiencing ongoing harm related to their discharge paperwork and status.
28   Named Plaintiffs and their counsel concluded that the substantial relief obtained for the putative

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 1   class through this settlement as compared to the potential delay and substantial risks of ongoing
 2   litigation make this settlement an excellent outcome. ECF No. 82-8 ¶ 31; ECF No. 82-6 ¶¶ 45-47;
 3   ECF No. 82-7 ¶ 35; ECF No. 82-5 ¶¶ 45-47.
 4          Plaintiffs moved for preliminary approval of the settlement on January 6, 2025. ECF No. 82.
 5   The same day, Defendants filed a Statement of Nonopposition and requested the Court consider the
 6   matter submitted on the papers for immediate determination. ECF No. 84. On January 8, 2025, the
 7   Court conditionally certified the settlement class and granted preliminary approval of the settlement.
 8   ECF No. 85.
 9          Pursuant to the Court’s order, the parties implemented the notice plan to advise class
10   members of the proposed settlement and its terms, and how to exercise their rights to object and/or
11   participate. See id. at 2-3; Rifkin Decl. ¶¶ 13-14. The final class notice, updated per the Court’s
12   Order (“Notice”), is attached as Exhibit 2 to the Rifkin Declaration. The Notice was posted on
13   public-facing Department of Defense websites and class counsel’s case website. 3 Rifkin Decl. ¶ 14.
14   Class counsel also distributed the Notice and a summary of the settlement to LGBTQ+
15   organizations, veterans’ organizations, veterans’ legal clinics, and related listservs across the
16   country. See id. ¶ 4; SA ¶ 24. The parties issued press releases with information about the
17   settlement, and class counsel posted a summary of information contained in the Class Notice to
18   social media channels. See Rifkin Decl. ¶¶ 14-15; SA ¶ 24.
19          Class counsel have received substantial positive feedback from class members, and no class
20   members have submitted objections. Rifkin Decl. ¶ 16.
21   III.   SUMMARY OF PROPOSED CLASS SETTLEMENT
22          A.      The Settlement Class
23          The proposed settlement class is the same as the class conditionally certified by the Court in
24   its January 8, 2025 Order:
25          [V]eterans of the U.S. Army, U.S. Navy, U.S. Air Force, and U.S. Marine Corps who
            were administratively separated prior to September 20, 2011, and whose most recent
26          Service separation document shows their basis for discharge was sexual orientation,
27
     3
      See https://www.defense.gov/Spotlights/Dont-Ask-Dont-Tell-Resources/;
28   https://www.milreviewbds.mil/; https://www.justiceforlgbtqveterans.com/

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 1           homosexual conduct, homosexual admission, homosexual marriage, similar language,
             or a policy title or number signifying separation for sexual orientation.
 2
     SA ¶ 4(d).
 3

 4           B.      Relief Provided by the Settlement
 5           The settlement establishes two corrections procedures for class members. The first is an
 6   administrative change process to remove sexual orientation indicators from the DD-214s of class
 7   members with Honorable and Uncharacterized/Entry Level discharges (“Administrative Change
 8   Process”). The following changes to class members’ DD-214s may be obtained through the
 9   Administrative Change Process: (1) the narrative basis (i.e., reason) for separation changed to
10   “Secretarial Authority,” (2) the Separation Program Designator Code 4 changed to correspond to the
11   new narrative basis, and (3) the Re-Entry code be upgraded to RE-1 if it was RE-2 or lower. 5 The
12   Administrative Change Process will not require Board review and will be available for at least three
13   years. SA ¶¶ 6-7.
14           The second streamlined corrections procedure is an expedited group discharge upgrade
15   review process for class members discharged with characterizations of General Under Honorable
16   Conditions or Under Other Than Honorable Conditions (“Discharge Upgrade Review Process”).
17   Defendants will submit group discharge upgrade requests for Board review on behalf of eligible class
18   members who opt into this process. The first series of group applications will be submitted within
19   nine months after the Final Approval order is entered. Defendants will continue to submit group
20   applications at approximately three-month intervals, and this process will remain available for at least
21   three years. SA ¶ 7.
22           C.      Class Notice
23           The Court approved the notice plan set forth in the settlement, with the notice to be updated
24   to provide time and location details for the final approval hearing and class member objections, as
25
     4
26     Separation Program Designator Code is a three-character alphabetic combination identifying the
     reasons for and type of separation.
     5
27     RE-1 signifies that the veteran is eligible for reenlistment. See Office of the Naval Inspector
     General, What is a Reenlistment Code?, SECRETARY OF THE NAVY,
28   https://www.secnav.navy.mil/ig/Lists/FAQs/DispForm.aspx?ID=641 (last visited January 3, 2025).

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 1   described in the Court’s Order. ECF No. 85 at 2-3. As described above, the parties have
 2   implemented this notice plan. See supra, Section II.
 3          The settlement also provides that, following final approval, Defendants will prepare a class
 4   list utilizing their records database and send letters to certain class members describing how to
 5   access the settlement’s expedited DD-214 corrections procedures. Information about how veterans
 6   can request DD-214 corrections pursuant to the settlement will be posted on the Department of
 7   Defense and each military department’s websites, as well as class counsel’s case website. SA ¶¶ 10-
 8   12.
 9          D.      Attorneys’ Fees and Costs
10          The settlement permits Plaintiffs to move for an award of reasonable attorneys’ fees and
11   costs in the amount of $350,000, but is not conditioned upon the Court’s approval of any attorneys’
12   fees or costs. SA ¶ 34; Rifkin Decl. ¶ 20. As detailed further below, this amount is reasonable and
13   justified under the Equal Access to Justice Act, 28 U.S.C. §§ 2412 (“EAJA”).
14   IV.    ARGUMENT
15          A.      The Court Should Certify the Settlement Class.
16          The proposed settlement class definition is coextensive with the class proposed in Plaintiffs’

17   operative complaint. See United States District Court for the Northern District of California,

18   Procedural Guidance for Class Action Settlements ¶ 1(a) (2018) (“N.D. Cal. Class Settlement

19   Guidance”). The settlement class definition contains greater detail than the class definition in the

20   operative complaint to clarify the scope of the proposed class and facilitate Defendants’ provision of

21   relief. Compare SA ¶ 4(d) with ECF No. 43 ¶ 112. The parties jointly drafted this definition, which

22   incorporates information Plaintiffs did not have at the time they filed the operative complaint. ECF

23   No. 82-1 ¶ 23. The settlement does not propose a subclass because the injunctive relief negotiated

24   for the entire proposed settlement class addresses the discharge upgrade claims of the subclass

25   defined in Plaintiffs’ operative complaint. Id.

26          There is no substantive difference between the proposed settlement class definition and

27   Plaintiffs’ original proposed class definition that would impede certification for settlement purposes.

28   Indeed, courts routinely approve more extensive departures from proposed class definitions. See,

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 1   e.g., Carlotti v. ASUS Computer Int’l, No. 18-cv-03369-DMR, 2019 WL 6134910, at *14 (N.D. Cal.
 2   Nov. 19, 2019) (approving settlement class narrower than class in complaint); In re Chrysler-Dodge-
 3   Jeep Ecodiesel Mktg., Sales Pracs., & Prods. Liab. Litig., No. 17-md-02777, 2019 WL 536661, at
 4   **3-7 (N.D. Cal. Feb. 11, 2019) (approving settlement with “simpler” class definition).
 5                   1. Plaintiffs Satisfy the Requirements for Class Certification under Rule 23(a).
 6            The proposed settlement class meets Rule 23 requirements for class certification. See
 7   Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997) (explaining that certification requires that
 8   all four elements of Rule 23(a) and at least one prong under Rule 23(b) be satisfied). The Court
 9   previously found that it “will likely be able to certify the proposed class for the purposes of
10   settlement.” ECF No. 85 ¶ 1. There have been no changes to the settlement class since the Court’s
11   conditional certification in January 2025. Applying the required rigorous analysis to confirm that
12   the requirements of Rule 23 are met, the Court may readily conclude that it can now finally certify
13   the settlement class. See In re Hyundai and Kia Fuel Economy Litig., 926 F.3d 539, 556 (9th Cir.
14   2019).
15                          a)      The Settlement Class is Sufficiently Numerous.
16            The proposed settlement class meets the numerosity requirement of Rule 23(a) because
17   “joinder of all members is impracticable.” Fed. R. Civ. P. 23(a)(1). The Department of Defense
18   website states that 32,837 veterans were discharged under DADT and predecessor policies, 6 and
19   Defendants’ response to Plaintiffs’ Freedom of Information Act request indicated there are at least
20   35,801 veterans who are in this group. ECF No. 43 ¶ 114. These tens of thousands of veterans are
21   presumptively members of the proposed Settlement Class because Defendants themselves have
22   characterized these veterans’ discharges as based on their sexual orientation. 7 While some of those
23   veterans may have received relief through the existing Board review process and a limited initiative
24   Defendants announced in September 2023, 8 it is undisputed that the majority have not. Therefore,
25
     6
       Spotlight: Don’t Ask Don’t Tell Resources, U.S. DEPARTMENT OF DEFENSE,
26
     https://www.defense.gov/Spotlights/Dont-Ask-Dont-Tell-Resources/ (last visited February 5, 2025).
     7
27     Id.
     8
       After Plaintiffs filed this lawsuit, the Department of Defense announced that it would initiate a
28

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 1   the proposed settlement class is sufficiently numerous. See Wortman v. Air New Zealand, 326
 2   F.R.D. 549, 556 (N.D. Cal. 2018) (holding that a class of at least forty-one class members will
 3   presumptively meet the numerosity requirement, and plaintiffs may make a reasonable estimate as to
 4   class numbers).
 5                          b)      There are Common Questions of Law and Fact.
 6          Rule 23(a)(2) requires that there be “questions of law or fact common to the class.” Fed. R.
 7   Civ. P. 23(a)(2). The commonality requirement looks to “shared legal issues or a common core of
 8   facts.” Rodriguez v. Hayes, 591 F.3d 1105, 1122 (9th Cir. 2010) (abrogated on other grounds by
 9   Rodriguez Diaz v. Garland, 53 F.4th 1189 (9th Cir. 2022)). In other words, class claims “must
10   depend upon a common contention,” which “must be of such nature that it is capable of classwide
11   resolution—which means that determination of its truth or falsity will resolve an issue that is central
12   to the validity of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S.
13   338, 350 (2011). This case poses numerous overarching questions that are common to the proposed
14   Settlement Class, including:
15          •   Whether Defendants violated class members’ equal protection rights by (1) issuing DD-
                214s that identified class members’ actual or perceived sexual orientation, while not
16              identifying the actual or perceived sexual orientation of other veterans, and
                (2) maintaining a policy expressly disclaiming an intention to systematically remove
17              indicators of sexual orientation on class members’ DD-214s following the repeal of
                DADT;
18
            •   Whether Defendants’ maintenance of a policy that refuses to systematically remove
19              indicators of sexual orientation from DD-214s is a continuing violation of class members’
                constitutional right to privacy;
20
            •   Whether Defendants have violated due process by maintaining a policy that refuses to
21              systematically remove sexual orientation indicators from DD-214s; and
22          •   Whether the discharge upgrade and record correction processes that Defendants have put
                in place are constitutionally inadequate.
23

24   records review of veterans who may have been discharged under Don’t Ask Don’t Tell and consider
     processing upgrades to eligible veterans. See U.S. Department of Defense, Statement by the
25   Secretary of Defense Lloyd J. Austin on the Twelfth Anniversary of the Repeal of ‘Don’t ask Don’t
26   Tell (September 20, 2023), https://www.defense.gov/News/Releases/Release/Article/3531561/ (last
     visited February 5, 2025). In October 2024, the Department of Defense announced it had granted
27   relief to 824 veterans through that review. See Spotlight: Don’t Ask Don’t Tell Resources, U.S.
     DEPARTMENT OF DEFENSE, https://www.defense.gov/Spotlights/Dont-Ask-Dont-Tell-Resources/
28   (last visited February 5, 2025).

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 1          The central facts underlying the class claims are also common. For example, Defendants’
 2   inclusion of sexual orientation indicators on the DD-214s of Settlement Class members uniformly
 3   resulted from discharges under DADT and predecessor policies. Likewise, federal regulations and
 4   Department of Defense directives explicitly require “uniformity among the Military Departments in
 5   the rights afforded applicants in discharge reviews.” 32 C.F.R. § 70.4(b)(2); Department of Defense
 6   Directive 1332.41. As a result, the process for reviewing and correcting military records to remove
 7   indicators of sexual orientation or obtain a discharge upgrade is the same or substantially similar for
 8   all veterans in all branches of service. These common questions of law and fact meet the
 9   requirements under Rule 23(a)(2).
10                          c)     Named Plaintiffs’ Claims are Typical of the Class.
11          Rule 23(a)(3) requires that “the claims or defenses of the representative parties are typical of
12   the claims or defenses of the class.” The purpose of the typicality requirement is to ensure that the
13   interests of the named Plaintiffs align with the interests of the class. Hanon v. Dataproducts Corp.,
14   976 F.2d 497, 508 (9th Cir. 1992). “[R]epresentative claims are ‘typical’ if they are reasonably co-
15   extensive with those of absent class members; they need not be substantially identical.” Hanlon v.
16   Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 2008), overruled on other grounds by Wal-Mart, 564
17   U.S. 338. The typicality requirement measures whether the named Plaintiffs’ legal claims all arise
18   from essentially the same conduct as their fellow class members’ claims, and whether the named
19   Plaintiffs and their fellow class members suffered the same legal injury. Hanon, 976 F.2d at 508.
20          Here, named Plaintiffs and the proposed settlement class all suffered the identical injury of a
21   military discharge based on actual or perceived sexual orientation and all have DD-214s that contain
22   indicators of sexual orientation. ECF No. 82-8 ¶ 4; ECF No. 82-6 ¶ 22; ECF No. 82-7 ¶ 4; ECF No.
23   82-5 ¶ 21. Named Plaintiffs and the proposed settlement class are all challenging the continued
24   inclusion of sexual orientation indicators on their DD-214s, Defendants’ refusal to systematically
25   correct DD-214s, and Defendants’ constitutionally infirm process that places the burden on affected
26   veterans to obtain corrections. See Armstrong v. Davis, 275 F.3d 849, 869 (9th Cir. 2001) (typicality
27   requirement met when “the cause of the injury is the same—here, the Board’s discriminatory policy
28   and practice”). Named Plaintiffs’ claims are therefore typical of the proposed settlement class.

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 1                          d)      Named Plaintiffs and Their Counsel Have, and Will Continue to,
                                    Fairly and Adequately Protect the Interests of the Class.
 2
            The final Rule 23(a) requirement is that named Plaintiffs will “fairly and adequately protect
 3
     the interests of the class.” Fed. R. Civ. P. 23(a)(4). This inquiry asks whether there are any conflicts
 4
     of interest between named Plaintiffs and the class they seek to represent, thereby guarding the right
 5
     of absent class members not to be bound to a judgment without adequate representation by the
 6
     parties participating in the litigation. In re Anthem, Inc. Data Breach Litig., 327 F.R.D. 299, 309
 7
     (N.D. Cal. 2018). The court must determine whether the class representatives “have any conflicts of
 8
     interest with other class members” and will “prosecute the action vigorously on behalf of the class”
 9
     through qualified counsel. Staton v. Boeing Corp., 327 F.3d 938, 957 (9th Cir. 2003). Named
10
     Plaintiffs meet this requirement.
11
            As this Court determined in its preliminary approval Order, named Plaintiffs satisfy the Rule
12
     23 requirements for class representatives. ECF No. 85 ¶ 3. They have no interest antagonistic to, or
13
     in conflict with, the interests of the class members they seek to represent. Instead, the proposed
14
     settlement class members’ interests are aligned because they all share the common goal of removing
15
     the discriminatory and harmful indicators of sexual orientation on their DD-214s and the resulting
16
     harms. Each named Plaintiff has also devoted significant time to the investigation, prosecution, and
17
     settlement of this case. ECF No. 82-8 ¶ 30; ECF No. 82-6 ¶ 44; ECF No. 82-7 ¶ 34; ECF No. 82-5
18
     ¶¶ 36, 41. Named Plaintiffs have prioritized the primary goal to obtain relief on behalf of the entire
19
     class. ECF No. 82-8 ¶¶ 29, 33; ECF No. 82-6 ¶¶ 43, 48; ECF No. 82-7 ¶¶ 33, 38; ECF No. 82-5
20
     ¶¶ 42-43.
21
            Plaintiffs’ counsel also continue to satisfy the requirements for class counsel under Rule
22
     23(g). 9 Plaintiffs’ counsel undertook significant research and investigation in preparation for filing
23
     the complaint in this case, and vigorously litigated the case. ECF No. 82-1 ¶ 44; ECF No. 82-2 ¶¶ 6-
24
     7; ECF No. 82-3 ¶ 10; ECF No. 82-4 ¶ 7. Counsel are well-versed in complex class litigation and
25

26   9
      Because one of the attorneys the Court appointed as class counsel in its preliminary approval order
27   has subsequently changed employment, the parties are concurrently filing a joint stipulation and
     proposed order to substitute California Women’s Law Center for Legal Aid at Work as class
28   counsel.

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 1   LGBTQ+ civil rights actions, and devoted substantial time and expertise for the benefit of the class.
 2   ECF No. 82-1 ¶¶ 41-50; ECF No. 82-2 ¶¶ 3-9; ECF No. 82-3 ¶¶ 2-9; ECF No. 82-4 ¶¶ 2-6. The case
 3   has been hard fought through Defendants’ motion to dismiss and lengthy settlement negotiations.
 4   ECF No. 82-1 ¶¶ 13, 16-22; ECF No. 82-2 ¶¶ 10-13; ECF No. 82-3 ¶¶ 12-15; ECF No. 82-4 ¶¶ 9-12.
 5   While class counsel Eliabeth Kristen has changed organizations to the California Women’s Law
 6   Center, the CWLC will continue to represent the class and should be substituted as class counsel for
 7   LAAW pursuant to the Stipulation and Declaration of Elizabeth Kristen filed herewith.
 8                    2. The Proposed Settlement Class Meets the Requirements of Rule 23(b)(2).
 9          Federal Rule of Civil Procedure 23(b)(2) requires that “the party opposing the class has acted
10   or refused to act on grounds that apply generally to the class, so that final injunctive relief or
11   corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.
12   23(b)(2). “Rule 23(b)(2) is almost automatically satisfied in actions primarily seeking injunctive
13   relief.” Hernandez v. Cnty. of Monterey, 305 F.R.D. 132, 151 (N.D. Cal. 2015).
14          This case satisfies the Rule 23(b)(2) requirements because Defendants uniformly identified
15   the actual or perceived sexual orientation of veterans discharged under DADT and predecessor
16   policies on their DD-214s. Further, Defendants are now subjecting all proposed settlement class
17   members to the same policy that requires veterans with sexual orientation indicators on their DD-
18   214s to individually petition for relief and carry the burden of demonstrating that relief should be
19   granted. A uniform injunction would cure each alleged violation of proposed settlement class
20   members’ Fifth and Fourteenth Amendment rights resulting from Defendant’s uniform policies and
21   procedures. In other words, proposed settlement class members seek “relief from a single practice.”
22   See Rodriguez, 591 F.3d at 1126. Therefore, this case is particularly suited to certification under
23   Rule 23(b)(2).
24          B.        The Proposed Settlement is Fair, Reasonable, and Adequate.
25          The Court should grant final approval of the settlement. The Ninth Circuit maintains a
26   “strong judicial policy” that favors settlement of class actions. McKnight v. Uber Techs., Inc., No.
27   14-cv-05615-JST, 2017 WL 3427985, at *2 (N.D. Cal. Aug. 7, 2017) (quoting Class Plaintiffs v.
28   City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992)). Final approval is appropriate if the proposed

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 1   settlement is “fair, reasonable, and adequate” under Rule 23(e)(2). See In re Bluetooth Headset
 2   Prod. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2021). Rule 23(e) requires the Court to consider
 3   whether representation of the class was adequate; whether the proposal was negotiated at arm’s
 4   length; the adequacy of the relief provided for the class; and the treatment of class members relative
 5   to each other. Fed. R. Civ. P. 23(e)(2)(A)-(D).
 6          The Ninth Circuit has also identified specific factors that courts should consider when
 7   evaluating whether a settlement is fair, reasonable, and adequate: the strength of plaintiff’s case;
 8   risk, expense, complexity, and likely duration of further litigation; risk of maintaining class action
 9   status throughout trial; amount offered in settlement; extent of discovery completed and stage of the
10   proceedings; experience and views of counsel; presence of a governmental participant; and reaction
11   of class members to the proposed settlement. In re Bluetooth, 654 F.3d at 946 (quoting Churchill
12   Village, LLC v. Gen. Elec., 361 F.3d 566 at 575).
13          When the class has not already been certified, the Court must also closely review class
14   settlements “for evidence of collusion or other conflicts of interest . . . before securing the court’s
15   approval as fair.” Id. at 946-47. This review “ensure[s] that class representatives and their counsel
16   do not secure a disproportionate benefit ‘at the expense of the unnamed plaintiffs who class counsel
17   had a duty to represent.’” Lane v. Facebook, Inc., 696 F.3d 811, 819 (9th Cir. 2012) (quoting
18   Hanlon, 150 F.3d at 1027). The proposed settlement in this case meets this standard.
19                  1. The Settlement is a Product of Arm’s Length Negotiations Among Experienced
                       Counsel.
20

21          The fairness and reasonableness of a settlement agreement is presumed “where that

22   agreement was the product of non-collusive, arm’s length negotiations conducted by capable and

23   experienced counsel.” In re Netflix Priv. Litig., No. 5:11-CV-00379 EJD, 2013 WL 1120801, at *4

24   (N.D. Cal. Mar. 18, 2013). Defendants agreed to participate in settlement discussions after the Court

25   ruled on their motion to dismiss. ECF No. 82-1 ¶ 16. Counsel then engaged in nearly six months of

26   weekly and bi-weekly negotiations that were adversarial in nature. ECF No. 82-1 ¶ 19; ECF No. 82-

27   2 ¶ 10; ECF No. 82-3 ¶ 12; ECF No. 82-4 ¶ 9. Counsel made incremental progress each week

28   through hard-fought compromises. Id. The proposed settlement was finally reached on January 3,

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 1   2025, after a substantial exchange of information, extensive investigation and analysis, and a full day
 2   of arm’s-length negotiations in Washington, D.C., with Plaintiffs’ counsel who have considerable
 3   expertise in class actions and civil rights litigation on behalf of LGBTQ+ individuals. ECF No. 82-1
 4   ¶¶ 20, 22; ECF No. 82-2 ¶¶ 11, 13; ECF No. 82-3 ¶¶ 13, 15; ECF No. 82-4 ¶¶ 10, 12.
 5          Plaintiffs and their counsel agreed to accept and propose this settlement to the Court because
 6   it provides substantial relief to class members and avoids both the risk of loss in litigation and the
 7   further harm of delaying relief to tens of thousands of veterans who have already waited for decades.
 8   ECF No. 82-1 ¶¶ 5, 34; ECF No. 82-2 ¶ 14; ECF No. 82-3 ¶ 16; ECF No. 82-4 ¶ 13. Courts
 9   recognize that the opinion of experienced counsel supporting settlement after arm’s-length
10   negotiations “is entitled to considerable weight.” Ellis v. Naval Air Rework Facility, 87 F.R.D. 15,
11   18 (N.D. Cal. 1980), aff’d, 661 F.2d 939 (9th Cir. 1981). The settlement was zealously negotiated,
12   and Plaintiffs’ counsel strongly support the settlement as fair, reasonable, and adequate. ECF No.
13   82-1 ¶¶ 5, 34; ECF No. 82-2 ¶ 14; ECF No. 82-3 ¶ 16; ECF No. 82-4 ¶ 13.
14                  2. The Strength of Plaintiffs’ Claims and Risk of Continued Litigation Weigh in
15                     Favor of Approval.

16          In evaluating the settlement, the Court should weigh the strength of Plaintiffs’ case against

17   the risk and expense of continued litigation. Churchill, 361 F.3d at 575. While Plaintiffs believe

18   they have a strong case on the merits, they also recognize the inherent risks and uncertainty of

19   litigation, including that the proposed settlement class could ultimately receive no relief at all, and

20   understand the benefit of providing significant injunctive relief now. ECF No. 82-1 ¶ 30. Plaintiffs

21   also appreciate the value of working collaboratively with Defendants to draft complex procedures

22   that involve each of the military service branches, an option that may not be available if the parties

23   proceed with litigation to a final judgment. Id. ¶ 31.

24          Plaintiffs recognize that timeliness of relief is a crucial consideration to this proposed

25   settlement class, giving an added value to resolving these claims without protracted litigation. ECF

26   No. 82-1 ¶ 30. All members of the proposed settlement class have lived with discriminatory DD-

27   214s for more than a decade—many for multiple decades. Id. Indeed, some veterans did not receive

28   relief in their lifetime. Id. If approved, the settlement will yield expedited, certain, and substantial

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 1   recovery for the proposed settlement class, without the considerable burdens, risks, and delays of
 2   ongoing federal court litigation. Id.
 3                  3. The Relief Obtained in Settlement is Fair, Adequate, and Reasonable.
 4          The relief negotiated by the parties is fair, adequate, and reasonable. The expedited
 5   corrections and review processes established through the settlement allow for the prompt removal of
 6   stigmatizing markers from the discharge paperwork of veterans separated pursuant to DADT or its
 7   predecessor policies, protect class members’ privacy, and do not require veterans to individually
 8   navigate the lengthy and burdensome individual Board records correction process. SA ¶¶ 6-8.
 9   Discharge upgrades will enable class members to obtain federal, state, and local benefits they have
10   been denied. ECF No. 43 ¶¶ 46-49, 69. Critically, these relief measures will be implemented within
11   three months of final approval, which is a significant benefit to veterans who have waited decades
12   for a viable remedy and would otherwise face additional years of litigation in this case. SA ¶¶ 6-7;
13   ECF No. 82-1 ¶ 30.
14          The relief in the proposed settlement is also reasonable when compared with the potential
15   class recovery if Plaintiffs had fully prevailed on each of their claims. See N.D. Cal. Class
16   Settlement Guidance ¶ 1(c). All Plaintiffs raised the following federal constitutional claims against
17   Defendants: Equal Protection (claim one); Substantive Due Process, Privacy Interest (claim two);
18   and Procedural Due Process (claim four). Plaintiffs Farrell, Gonzales, and Steffanides also raised a
19   Substantive Due Process, Liberty Interest (claim three) claim against Defendants. The proposed
20   settlement provides full injunctive relief under claims one and two, and a better result could not have
21   been obtained after a successful trial on the merits. The relief achieves the primary goal of this
22   litigation: to provide an accessible and effective avenue to remove the markers of sexual orientation
23   from veterans’ DD-214s and implement a comprehensive and expedited DD-214 correction process
24   that alleviates the burdens of the current individualized process for the settlement class.
25          The proposed settlement does not achieve full relief under claims three and four because
26   veterans with Uncharacterized/Entry Level discharge codes will not be eligible for discharge
27

28

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 1   upgrades under the Settlement Agreement. 10 SA ¶ 4(y), 4(bb), 4(ee), 7; See N.D. Cal. Class
 2   Settlement Guidance ¶ 1(c). Veterans with these codes were discharged under a protocol preventing
 3   any discharge “characterization” from being assigned (whether Honorable or below Honorable)
 4   because the veteran was administratively separated before they served a specified minimum number
 5   of days (the specific minimum number of days has varied over time). Defendants represent that they
 6   do not have the authority to retroactively provide Honorable discharges to these veterans on a group-
 7   wide basis, and it is unclear whether Plaintiffs would prevail on this issue at trial. ECF No. 82-1
 8   ¶ 27. Plaintiffs recognize that litigating this narrow issue carries significant risk that is outweighed
 9   by a global settlement agreement that provides a path toward removal of sexual orientation
10   indicators from DD-214s for all class members and provides the majority discharged without an
11   Honorable characterization the opportunity to opt into an expedited group application process for
12   discharge upgrades. Id. Settlement class members with Uncharacterized/Entry Level Discharges
13   will not waive or release their individual claims under the terms of the settlement and retain their
14   right to apply individually for discharge upgrades through the regular Board review process. SA
15   ¶ 32-33, 46.
16          Less-than-total relief for all class members desiring discharge upgrades does not preclude a
17   determination by the Court that the settlement is fair, adequate, and reasonable. A settlement is not
18   judged solely against what might have been recovered had Plaintiffs prevailed at trial as to all
19   aspects of their claims. Linney v. Cellular Alaska Partnership, 151 F.3d 1234, 1242 (9th Cir. 1998)
20   (noting that fairness of a proposed settlement “is not to be judged against a hypothetical or
21   speculative measure of what might have been achieved by the negotiators.”); In re TD Ameritrade
22   Account Holder Litig., No. C 07-2852 SBA, 2011 WL 4079226, at *4 (N.D. Cal. Sept. 13, 2011).
23   Instead, a compromise generally involves both parties giving up something they might have won had
24   they proceeded with litigation in exchange for saving costs and eliminating risks. See Officers for
25   Justice v. Civ. Serv. Comm’n & Cnty. of San Francisco, 688 F.2d 615, 624 (9th Cir. 1982).
26   10
       Class members with Uncharacterized/Entry level discharges will still be eligible to receive
27   corrections to their DD-214s to remove sexual orientation indicators through the Administrative
     Change Process. SA ¶ 6. All other class members with discharge characterizations below
28   Honorable will be eligible for the Discharge Upgrade Review Process. SA ¶ 7.

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 1           The proposed release of claims included in the settlement is consistent with Ninth Circuit
 2   law. See, e.g., Hesse v. Sprint Corp., 598 F.3d 581, 590 (9th Cir. 2010) (quoting Williams v. Boeing
 3   Co., 517 F.3d 1120, 1133 (9th Cir. 2008) (“A settlement agreement may preclude a party from
 4   bringing a . . . released claim [that] is ‘based on the identical factual predicate as that underlying the
 5   claims in the settled class action.’”)); N.D. Cal. Class Settlement Guidance ¶ 1(b). The release in the
 6   settlement tracks the claims in the operative complaint and releases only the claims asserted on
 7   behalf of the putative class in the complaint. SA ¶ 32. All settlement class members maintain their
 8   rights to apply individually through the usual Board review processes for any relief not obtained
 9   through the procedures set forth in this settlement. SA ¶ 7(c)-(d). All class members also maintain
10   their rights to pursue claims for damages because no such relief was sought as part of this case.
11   SA ¶ 32.
12           C.      The Notice Plan Satisfies the Requirements of Rule 23.
13           The approved notice plan is appropriate under Rule 23(c)(2), which permits but does not
14   mandate notice when a class is certified under Rule 23(b)(2) and provides only injunctive relief. See
15   Fed. R. Civ. P. 23(c)(2)(A); Moore v. GlaxoSmithKline Consumer Healthcare Holdings (US) LLC,
16   No. 4:20-cv-09077-JSW, 2024 WL 4868182, at *4 (N.D. Cal. Oct. 3, 2024); see also N.D. Cal.
17   Class Settlement Guidance ¶ 3 (providing additional guidance on class notice). A class settlement
18   notice “is satisfactory if it ‘generally describes the terms of the settlement in sufficient detail to alert
19   those with adverse viewpoints to investigate and to come forward and be heard.’” Churchill, 361
20   F.3d at 575 (quoting Mendoza v. Tuscon Sch. Dist. No. 1, 623 F.2d 1388, 1352 (9th Cir. 1980)).
21           The parties implemented the approved notice plan as described above in Sections II and
22   III.C, utilizing multiple methods of communication to make settlement class members aware of the
23   settlement, the relief it would provide, and how to exercise their rights to object and/or participate.
24   Rifkin Decl. ¶¶ 13-16.
25           The settlement also provides that, following final approval, Defendants will send letters by
26   U.S. Mail to settlement class members who can be identified using Defendants’ computerized
27   records. SA ¶ 8. These letters will inform class members of the availability of a process to request
28   changes to their DD-214s but will not directly reference this lawsuit or sexual orientation to protect

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 1   class members’ privacy, given that mail delivery to last-known addresses does not guarantee
 2   confidentiality. Rifkin Decl. ¶ 17. While Defendants will not be able to identify settlement class
 3   members discharged before 1980 because they do not maintain computerized records from that time,
 4   all veterans who meet the class definition will be eligible for relief under the settlement, even if they
 5   do not receive a letter from Defendants. SA ¶¶ 6, 7; ECF No. 82-1 ¶ 40. Defendants will also post
 6   information about how to access the Administrative Change Process and the Board Discharge
 7   Upgrade Review Process on the Department of Defense website and each military department’s
 8   website, and Plaintiffs’ counsel will post similar information on their case website along with links
 9   to the Department of Defense website. SA ¶¶ 9, 11, 24(d).
10           This notice plan is reasonable given the size, composition, and particular privacy concerns of
11   this settlement class, and the nature of the injunctive relief provided.
12           D.      Plaintiffs’ Request for Attorneys’ Fees and Costs is Reasonable.
13           Pursuant to Federal Rules of Civil Procedure 23(h) and 54(d)(2), the Court may award
14   reasonable attorneys’ fees and nontaxable costs as authorized by law or by the parties’ agreement
15   upon timely motion and with appropriate notice to the class. In granting preliminary approval of the
16   settlement, the Court found that it would “likely be able to approve the proposed settlement as fair,
17   reasonable, and adequate,” “including its provisions for… reasonable attorneys’ fees and costs.”
18   ECF No. 85 at 2. The Court approved notice to the class that Plaintiffs would be seeking $350,000
19   in fees and costs, and directed Plaintiffs to move for such fees and costs at the time of the final
20   approval motion. ECF No. 85. The parties provided Notice, and no class member has objected to
21   Plaintiffs’ fees request.
22           “A district court must ensure that attorneys’ fees are ‘fair, adequate, and reasonable,’ even if
23   the parties have entered into a settlement agreement that provides for those fees.” Bronson v. Samsung
24   Elecs. Am., Inc., No. C 18-02300 WHA, 2020 WL 1503662, at *3 (N.D. Cal. Mar. 30, 2020) (citing
25   Staton v. Boeing Co., 327 F.3d 938, 963–64 (9th Cir. 2003)); see also In re Bluetooth, 654 F.3d at 941.
26   Here, the settlement provides the class with a substantial benefit that is consistent with the injunctive
27   relief sought in the operative complaint; the fees were negotiated independent of the injunctive relief
28   set forth in the settlement; the settlement is not conditioned upon the Court’s approval of fees; and the

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 1   fees will not be deducted from a monetary class settlement. ECF No. 82-1 ¶¶ 26, 55; see Bronson,
 2   2020 WL 1503662, at *3; Vargas v. Ford Motor Co., No. cv 1208388, 2020 WL 1164066, at *12
 3   (C.D. Cal. Mar. 5, 2020) (attorneys’ fee provision was “not problematic” when, among other things,
 4   fees were negotiated separately from class relief).
 5          This Court may properly award Plaintiffs $350,000 in reasonable attorneys’ fees and costs
 6   pursuant to Rule 23(h). EAJA entitles litigants to recover attorneys’ fees and costs from the federal
 7   government if: (1) they are the prevailing party; (2) the government fails to show that its position
 8   was substantially justified or that special circumstances make an award unjust; and (3) the requested
 9   fees and costs are reasonable. See Perez–Arellano v. Smith, 279 F.3d 791, 793 (9th Cir.2002).
10   EAJA also provides for the recovery of costs that are ordinarily billed to a client and that are routine
11   under all other fee statutes. See Int’l Woodworkers of Am. AFL-CIO, Local 3-98 v. Donovan, 769
12   F.2d 1388, 1392 (9th Cir. 1985), amended, 792 F.2d 762 (9th Cir. 1985).
13          Plaintiffs are a prevailing party under EAJA because the relief obtained through the
14   settlement materially alters the relationship of the parties and Court approval of the settlement would
15   judicially sanction this alteration. See Buckhannon Board and Care Home, Inc. v. West Virginia
16   Dep’t of Health & Hum. Resources, 532 U.S. 598, 604–05 (2001) (holding that a litigant is a
17   prevailing party if the lawsuit resulted in a “material alteration of the legal relationship of the
18   parties” and the alteration was “judicially sanctioned”); Perez–Arellano, 279 F.3d at 793 (holding
19   that the Buckhannon rule regarding prevailing party status governs EAJA fee applications). The
20   “material alteration” inquiry asks whether the relief modifies a defendant’s behavior in a way that
21   directly benefits the plaintiff. Richard S. v. Dep’t of Developmental Servs., 317 F.3d 1080, 1087
22   (9th Cir.2003) (citing Barrios v. California Interscholastic Federation, 277 F.3d 1128 (9th Cir.
23   2002)). Here, Defendants’ implementation of expedited DD-214 correction and review processes
24   under the settlement agreement benefits the class of veterans separated pursuant to DADT and its
25   predecessor policies. For purposes of settlement, Defendants also do not contend that the
26   government’s position was substantially justified or that an award of attorneys’ fees and costs is
27   unjust. See 28 U.S.C. § 2412(d)(1)(A); Thomas v. Peterson, 841 F.2d 332, 335 (9th Cir.1988)
28   (holding that a prevailing party in litigation against the government receives a rebuttable

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 1   presumption that it is entitled to EAJA fees unless the government is able to show its position was
 2   substantially justified); ECF No. 82-1 ¶ 35.
 3          The requested award of $350,000 in total attorneys’ fees and costs is reasonable. When
 4   calculated at the 2024 EAJA statutory maximum rate of $251.84 per hour, 11 this compensates
 5   Plaintiffs’ attorneys for approximately 1,389.8 hours of work. Rifkin Decl. ¶ 23. As set forth in
 6   Plaintiffs’ motion for preliminary approval, as of September 2024, counsel had spent approximately
 7   4,577.1 hours on this matter and incurred approximately $17,000 in costs and litigation expenses.
 8   ECF No. 82-1 ¶ 52. Since September 2024, Plaintiffs’ attorneys have done substantial additional
 9   work necessary to the litigation, including negotiating with Defendants to finalize the settlement
10   agreement, preparing class notice, preparing and filing the motion for conditional class certification
11   and preliminary approval and supporting declarations, implementing the class notice plan, and
12   preparing and filing the instant motion for class certification, final approval, and award of fees.
13   Rifkin Decl. ¶ 25. The requested amount of $350,000 in fees and costs is thus more than a 70%
14   reduction of Plaintiffs’ lodestar at the 2024 EAJA rate, which more than accounts for the diligent
15   exercise of billing judgment and adjustments for the application of prior years’ EAJA rates for work
16   performed in those years. Id. ¶ 23; ECF No. 82-1 ¶ 54; ECF No. 82-2 ¶ 20; ECF No. 82-3 ¶ 22; ECF
17   No. 82-4 ¶ 19; see also Bronson, 2020 WL 1503662, at *5 (approving requested fee award of
18   $487,000 where “[t]he amount comports with the settlement” and “the fees sought represent
19   approximately thirty-four percent of the claimed lodestar, yielding a ‘negative multiplier.’”); Moreno
20   v. San Francisco Bay Area Rapid Transit District, 17-cv-02911-JSC, 2019 WL 343472, at *6 (N.D.
21   Cal. Jan. 28, 2019) (finding requested fee award of $57,000 as set forth in settlement reasonable
22   where counsel agreed “to accept a very significant lodestar discount. The fees sought represent
23   approximately one third of Class Counsel’s actual lodestar.”). Indeed, even when considering only
24   the work of the two primary attorneys at each co-counsel organization, Plaintiffs’ counsel spent
25   more than 2,663 hours on this matter and are requesting compensation at EAJA rates for only
26   11
        United States Courts for the Ninth Circuit, Statutory Maximum Rates Under the Equal Access to
27   Justice Act, https://www.ca9.uscourts.gov/attorneys/statutory-maximum-rates/ (last visited February
     3, 2025). Plaintiffs’ motion for preliminary approval cited the 2023 EAJA rate because the 2024 rate
28   had not yet been posted.

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 1   approximately half of those hours. Rifkin Decl. ¶ 24.
 2          The requested fees are also reasonable in light of courts’ discretion to award a fee higher than
 3   the statutory EAJA rate based on special factors, such as when plaintiffs’ attorneys possess a
 4   specialty practice or distinctive knowledge and skills, the distinctive knowledge and skills are
 5   necessary to the litigation in question, and similar skills could not have been obtained at the statutory
 6   rate. See Pirus v. Bowen, 869 F.2d 536, 541-42 (9th Cir. 1989); Ms. L v. U.S. Immigration and
 7   Customs Enforcement, No. 18-cv-00428 (S.D. Cal. Nov. 5, 2024), ECF No. 757 at 1-2. Plaintiffs
 8   could reasonably argue this special factor applies here and justifies a rate enhancement, but in the
 9   interest of obtaining timely relief for the settlement class, Plaintiffs forego seeking these higher rates.
10   V.     CONCLUSION
11          For the foregoing reasons, Plaintiffs respectfully request that the Court certify the settlement
12   class, grant final approval of the settlement, award $350,000 in reasonable attorneys’ fees and costs
13   to Plaintiffs, and enter final judgment in this action.
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